                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE

KARR TRANSPORTATION, INC.,                             )
                                                       )
        Plaintiff,                                     )
                                                       )
v.                                                     )               NO.1:12-CV-275
                                                       )               JURY DEMAND
TOTAL CONTROL INSURANCE                                )
SERVICES, LLC and                                      )
IPFS CORPORATION d/b/a IMPERIAL                        )
CREDIT CORPORATION,                                    )
                                                       )
        Defendant.                                     )

                                     AMENDED COMPLAINT

        Comes now Plaintiff, by and through counsel, and for its cause of action would show:

                                              PARTIES

        1.      Plaintiff Karr Transportation, Inc. is an Arkansas corporation with its principal office

located in the State of Arkansas.

        2.      Defendant Total Control Insurance Services, LLC is a for profit limited liability

corporation with its principal office located in the State of Tennessee.

        3.      Defendant IPFS Corporation is a Missouri corporation with its principal place of

business at 1055 Broadway St., FL 11, Kansas City, Missouri 64105-1575.

                                    JURISDICTION AND VENUE

        4.      Complete diversity of citizenship exists between the parties as they are citizens and

residents of different states.

        5.      The amount in controversy, exclusive of interest and costs, exceeds the sum of

$75,000.00 as required under 28 U.S.C. § 1332(a).

        6.      Subject matter jurisdiction over this action is proper pursuant to 28 U.S.C. § 1332.




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       7.      The acts and omissions that give rise to this lawsuit substantially occurred in

Hamilton County, Tennessee. By virtue of 28 U.S.C. § 1391, the United States District Court for

the Eastern District of Tennessee is the appropriate venue to address this Complaint.

                                   FACTUAL BACKGROUND

       8.      Plaintiff purchased insurance to cover its fleet of vehicles on September 21, 2011

from Defendant, Total Control Insurance Services, LLC (hereinafter “Total Control”).

       9.      Through Total Control, Plaintiff obtained financing for its premiums through IPFS

Corporation.

       10.     Upon the addition of new Peterbilt tractors to Plaintiff’s fleet in May of 2012,

Plaintiff was required to cancel its existing insurance policy and purchase a new policy so as to

secure coverage that included the new vehicles.

       11.     Due to the cancellation of the existing policy, Total Control owed Plaintiff

approximately eight thousand ($8,000.00) in unapplied premiums. Plaintiff was advised that Total

Control could not apply the unapplied premium amount to the new insurance policy and that Plaintiff

would receive the unapplied premium amount via a refund check. As of the date of the filing of this

Complaint, Plaintiff has yet to receive the refund check for the unapplied premiums from the

cancelled insurance policy.

       12.     On or about May 17, 2012, Total Control sold Plaintiff its new insurance policy

designated to cover Plaintiff’s fleet of vehicles, including Plaintiff’s 2012 Peterbilt, VIN#

1XPHD45X0CD158106             (hereinafter   “Peterbilt-1")   and   the   2013   Peterbilt,   VIN#

1XPHD49XXDD189350 (hereinafter “Peterbilt-2”) (collectively “Peterbilts”). The transaction

occurred through the office of Total Control in Hamilton County, Tennessee. The initial premium


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payment of $1,863.40 for the new policy was due on May 20, 2012.

        13.     In consideration of coverage for its fleet of vehicles, Plaintiff remitted $1,863.40 as

the initial premium down-payment to Total Control on May 17, 2012. The authorization to charge

or debit Plaintiff’s bank account (with the account number redacted) for the aforementioned amount

is attached to the Amended Complaint as Exhibit A.

        14.     Ten days later, on May 27, 2012, the Peterbilt-1 was involved in an accident causing

substantial property, loss of use, and bodily injury damages.

        15.     Upon filing a claim under its insurance policy, Plaintiff was denied coverage due to

non-payment of policy premiums. The denial of coverage, due to non-payment of premiums, was

due to Total Control’s failure to timely post the premium payment and secure the coverage at issue.

        16.     On June 6, 2012, the Peterbilt-2, which was obtained to replace Peterbilt-1 while it

was being repaired, was involved in an accident causing property damage.

        17.     Plaintiff again was denied coverage due to non-payment of policy premiums. The

denial of coverage, due to non-payment of premiums, was due to Total Control’s failure to timely

post the premium down payment and secure the coverage at issue.

        18.     In its Answer to the Complaint filed to initiate this cause of action, Total Control

alleges IPFS Corporation, d/b/a Imperial Credit Corporation (hereinafter “IPFS”), an insurance

premium finance company, negligently failed to properly pay financed premium payments on behalf

of Plaintiff, resulting in the denial of insurance coverage at issue.

        19.     Further, in its Answer, Total Control alleges that IPFS misrepresented to both Total

Control and Plaintiff that IPFS had in fact made such premium payments. According to Total

Control, these misrepresentations by IPFS may have contributed to or resulted in the cancellation

of Plaintiff’s policy for coverage of its fleet.

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        20.     Total Control failed to properly procure coverage for Plaintiff’s fleet of vehicles,

including the Peterbilts at issue.

        21.     Based on allegations of Total Control, IPFS failed to properly pay financed premium

payments on behalf of Plaintiff, and IPFS misrepresented to both Total Control and Plaintiff that it

had made such payments. To the extent these assertions of Total Control are accurate, IPFS is liable

to Plaintiff for all damages asserted herein.

        22.     Total Control entered into an agreement with Plaintiff to procure insurance. An

authorization was signed by Plaintiff on May 17, 2012 to pay the required premium down payment,

which was due on May 20, 2012.

        23.     As a result of signing the authorization, Plaintiff consummated the transaction with

Total Control and understood its entire fleet, including the Peterbilts at issue, was properly insured.

        24.     Plaintiff relied on Total Control to properly procure coverage for its fleet, including

the Peterbilts at issue.

        25.     Total Control negligently failed to timely apply the premium down payment and

secure the coverage. Total Control further failed to ensure IPFS Corporation properly paid the

financed premium payments on behalf of Plaintiff. For the reasons set forth, the claims arising from

losses occurring May 27, 2012 and June 6, 2012 have been denied.

        26.     Defendants’ negligence and breach of contract has resulted in substantial damages

incurred by Plaintiff including, but not limited to, expenses and costs from repairing the Peterbilts,

loss of revenue while the Peterbilts were being repaired, incidental costs including the transport and

storage of the Peterbilts, and medical expenses. The total damages incurred by Plaintiff to date

exceed One Hundred Thousand ($100,000.00) Dollars. The damages sustained by Plaintiff would



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have been covered by the insurance policy.

       WHEREFORE, Plaintiff prays:

       A.     That proper process be issued and served upon Defendants and that it be required to

              appear and answer this Amended Complaint within the time prescribed by law.

       B.     That Plaintiff be awarded compensatory and incidental damages in an amount

              sufficient to fully and fairly compensate for the damages it has incurred and will

              incur.

       C.     That the costs of this action be awarded to Plaintiff.

       D.     That Plaintiff be awarded such other and further relief, general and special, legal and

              equitable, to which the Court may find the Plaintiff justly entitled.

       E.     That the Plaintiff be granted a jury to hear all issues properly reserved for jury

              consideration.


                                                     Respectfully submitted,

                                                     FEENEY & MURRAY, P.C.



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